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                 UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF FLORIDA
                              OCALA DIVISION


UNITED STATES OF AMERICA
    Plaintiff,

vs.                                            CASE NO.:   5:21-MJ-1036-PRL

KELLY MEGGS
     Defendant.
______________________________/                FLORIDA BAR NO.: 0983675


               DEFENDANT’S AMENDED REQUEST
                   FOR PRETRIAL RELEASE

      COMES NOW the defendant, KELLY MEGGS, by and through his

undersigned attorney and files this Amended Request for Pretrial

Release and as grounds in support of this request states:

      1.   Mr. Meggs is charged by a criminal complaint with several

offenses related to crimes allegedly committed at the U.S. Capitol in

Washington, D.C, on Wednesday, Jan. 6, 2021. These offenses include

conspiracy against the United States government in violation of Title 18

U.S.C. § 371; Destruction of Government Property in violation of Title 18

U.S.C. § 1361; Obstruction of an Official Proceeding in violation of Title

18 U.S.C. § 1512(c)(2) and Restricted Building or Grounds Access in
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contravention of Title 18 U.S.C. § 1752(a)(1) and (2).       (see Criminal

Complaint).

     2.    While the charges against Mr. Meggs are pending on the

United States District Court in the District of Columbia, Mr. Meggs was

taken into custody in the Middle District of Florida, which is the federal

judicial district in which he resides.

     3.    Mr. Johnson is a fifty-two-year-old resident of Marion County

having resided in the City of Dunellon for at least the past twelve years.

     4.     The home in which he lives is owned by both himself and his

spouse and is one in which he has significant financial equity. It should

be noted that Mr. Meggs’ spouse is also named as a defendant in the

instant criminal complaint.

     5.    Mr. Meggs is employed in a senior leadership position by one

of the largest, privately held automotive dealer groups in the nation, a

position he has held for the past eleven years.

     6.    Mr. Meggs has no other pending criminal cases in any

jurisdiction and his criminal history reflects one misdemeanor arrest in

2006 which resulted in a dismissal of the charge against him.
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     7.      For the Court’s consideration, Mr. Meggs would point out the

following:

     a. Property and financial ties. Mr. Meggs owns his own residence

          in which he has a significant financial investment and in which

          he has lived for a significant period of time. Prior to living in

          Dunnellon Mr. Meggs was a resident of Ocala. Mr. Meggs has

          two adult children who reside in Marion County and likewise has

          two minor grandchildren who reside with and are dependent on

          him. His daughter lives in a home on his property and his son is

          a student at a Florida university, the tuition for which is paid by

          Mr. Meggs. He therefore demonstrably has significant property,

          financial and familial ties to this community.

     b. Lack of substance abuse history. Mr. Meggs has no history of

          substance abuse absent the use of cannabis to help him sleep.

          He is the holder of a validly issued medical marijuana card.

     c. Prior criminal history. Based on information and belief, Mr.

          Meggs’ only prior criminal history is one 2006 misdemeanor

          arrest in Florida that ultimately resulted in the charge having
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          been dismissed.

     d. Firearms. The undesigned as verified are no firearms present in

          Mr. Meggs’ residence.

     8.     Accordingly, should the government present Mr. Meggs as a

risk of flight, the case as to such a position falls well short of the

preponderance standard of proof.

     9.     It is anticipated that the government in seeking pretrial

detention will allege Mr. Meggs to be a danger to the community. the

community if granted bail.        For the reasons articulated above, the

inference that he poses such a risk is clearly not supported by clear and

convincing evidence, much less so that than even the preponderance

burden of proof.            ,

                                CONCLUSION

     Based on the above facts and subsequent legal analysis, Mr.

Johnson respectfully requests this court grant his request for pre-trial

release and impose upon him any combination of conditions sufficient to

satisfy the court that any perceived risk of flight he may pose is nominal

and any danger to the community merely theoretical and not supported
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by clear and convincing evidence.

                       MEMORANDUM OF LAW

     “In our society liberty is the norm, and detention prior to trial or

without trial is the carefully limited exception.” United States v. Salerno,

481 U.S. 739 (1987).

     The federal bail reform provisions, found in 18 U.S.C. § 3142 of the

Bail Reform Act, (the “Act”) provide the court with four options for setting

bail matters before it. These options are:

     (1) release the defendant on personal recognizance or
unsecured bond;
     (2) release the defendant on conditions;
     (3) temporarily detain the defendant to permit revocation of
        conditional release, deportation or exclusion; or
     (4) detain the defendant.

     Section 3142(g) of the Act sets forth the factors the judicial officer

shall take into account in making the determination whether to release

a person charged with an offense:

     (1) the nature and circumstances of the offense charged;

     (2) the weight of the evidence;

     (3) the history and characteristics of the person including:

           (a) the defendant’s character;
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           (b) physical and mental condition;
           (c) family ties;
           (d) employment;
           (e) financial resources;
           (f) length of residence in the community;
           (g) community ties;
           (h) past conduct;
           (i) history relating to drug or alcohol abuse;
           (j) criminal history;
           (k) record of appearance at court proceedings;
           (l) whether at the time of the current offense or arrest the
     defendant was on probation, parole or other release pending trial,
     sentencing, appeal or completion of a sentence; and
           (m) the nature and seriousness of the danger to any person
     or the community that would be posed by the defendant’s release.

     Title 18 U.S.C. § 3142(b) mandates pretrial release (“shall order the

pretrial release”) on personal recognizance or an unsecured appearance

bond unless the court determines that “such release will not reasonably

assure” the person’s appearance or “will endanger the safety of any other

person or the community.” The Act emphasizes release on personal

recognizance or an unsecured appearance bond; however, the court may

also consider whether ensuring the safety of the community warrants

detention. See United States v. Williams, 753 F.2d 329 (4th Cir. 1985);

United States v. Harris, 732 F. Supp. 1027 (N.D. Cal. 1990).

     An accused’s ties to the community is one of the indicia that courts
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look to in evaluating the flight risk of a defendant. See 18 U.S.C. §

3142(g)(3)(A).   He is a long-time resident of Marion County with

significant familial and financial ties.      He likewise possesses the

resources to appear as required in the judicial district in which he is

charged. While Mr. Meggs has traveled outside of the United States as

a cruise passenger, he stands ready to surrender his passport and agree

to not apply for a replacement during the pendency of this action.

Accordingly, he poses not even a modicum of risk of flight.

     The weight of the evidence against the accused is another factor to

be considered at the detention hearing, United States v. Apker, 964 F.2d

742 (8th Cir. 1992), but it is the least significant factor, United States v.

Townsend, 897 F.2d 989 (9th Cir. 1990). In the words of one district court

judge, to presume risk of flight from strong “evidence” of guilt would be

“tantamount to a presumption of guilt.” United States v. Gray, 651 F.

Supp. 432, 436 (W.D. Ark. 1987).

     It should be noted that, despite the charges in the criminal

complaint, the affidavit reflects nothing more than the mere presence of

an individual similar in appearance to Mr. Meggs depicted in
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photographs published in a newspaper article. Accordingly, the court is

urged to give any representation as to the strength of the government’s

case the simple acknowledgement of being just that; a representation.

     The prosecution bears the ultimate burden of establishing that no

series of conditions is sufficient to negate the risk of the accused’s flight

or dangerousness—by a preponderance of the evidence in the case of

flight and by clear and convincing evidence in the case of dangerousness.

United States v. English, 929 F.3d 311, 319 (2d Cir. 2011); see also Stone,

608 F.3d at 946; United States v. Bell, 209 F. Supp. 3d 275, 277 (D.D.C.

2016) (citing, United States v. Simpkins, 826 F.2d 94, 96 (D.C. Cir. 1987));

United States v. Rodriguez, 147 F. Supp. 3d 1278, 1286 (D. N.Mex. 2015);

United States v. Guerra-Hernandez, 88 F. Supp. 3d 25, 26 (D.P.R. 2015).

     Clear and convincing evidence means proof that the particular

defendant actually poses a danger to the community, not that a

defendant “in theory” poses a danger. United States v. Patriarca, 948 F.2d

789 (1st Cir. 1991). Only when there is a “strong probability that a person

will commit additional crimes if released” is the community interest in

safety sufficiently compelling to overcome the criminal defendant’s right
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to liberty. Ploof, 851 F.2d 7. United States v. Ploof, 851 F.2d 7 (1st Cir.

1988). Mr. Meggs’ has a negligible prior criminal history and there is zero

proof that he has engaged in any criminal activity after June 6th, 2021.

     The statute requires that a defendant be detained only if she or he

represents a serious risk of flight. That is a substantial burden for the

government to meet. See United States v. Giordana, 370 F. Supp. 2d 1256

(S.D. Fla. 2005) (serious charges do not necessarily equal serious flight

risk). In the case of Mr. Meggs, there is zero risk of non-appearance.

     If the court determines that personal recognizance or an unsecured

bond will not reasonably assure appearance or will endanger any other

person or the community, 18 U.S.C. § 3142(c) still mandates release

(“shall order the pretrial release”) subject to certain specified conditions.

The conditions, which must include that the person not violate any

federal, state or local law, must be the least restrictive conditions

necessary to reasonably assure the person’s appearance and the

community’s safety. The provision that conditions “reasonably assure”

appearance and safety does not require a guarantee of appearance or

safety. See United States v. O’Brien, 895 F.2d 810 (1st Cir. 1990); United
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States v. Fortna, 769 F.2d 243 (5th Cir. 1985), cert. denied, 479 U.S. 950

(1986). It requires an “objectively reasonable” assurance of community

safety and the defendant’s appearance at trial. Id. Imposition of

conditions of release must be supported by reasons why they are

necessary to reasonably assure appearance or safety. United States v.

Spilotro, 786 F.2d 808 (8th Cir. 1986).

     Based on information received, is anticipated that the government

may rely on the detention of other individuals facing charges from the

January 6th incident as justification for the detention of Mr. Meggs.

Should this be the case, the undersigned would point to the fact that at

least thirty-two individuals, including seven arrested in the Middle

District of Florida, charged with January 6th offenses have been released

on bail. These individuals are identified as:

       1. Josiah Colt: who is charged with Obstruction; Aiding and
     Abetting; Entering and Remaining in a Restricted Building;
     Disorderly and Disruptive Conduct in a Restricted Building;
     Violent Entry and Disorderly Conduct in a Capitol Building. Mr.
     Colt is shown in a widely disseminated photograph hanging from a
     wall inside the Capitol;

        2. Adam Johnson: charged with One count of knowingly entering
      or remaining in any restricted building or grounds without lawful
      authority; one count of theft of government property; and one count
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    of violent entry and disorderly conduct on Capitol grounds. Mr.
    Johnson had his initial appearance and was ordered released in
    the Middle District of Florida. He is the subject of a widely
    distributed photograph depicting him walking through the Capitol
    carrying the lectern of House Speaker Pelosi.;

      3. Joshua Pruitt: Civil Disorder; Obstruction of an Official
    Proceeding; Aiding and Abetting; Destruction of Government
    Property; Entering and Remaining in a Restricted Building or
    Grounds; Disorderly and Disruptive Conduct in a Restricted
    Building or Grounds; Disorderly Conduct in a Capitol Building;
    Acts of Physical Violence in the Capitol Building;

      4. Mark Leffingwell: Knowingly entering or remaining in any
    restricted buildings or grounds without lawful authority, assault
    on a federal officer; and violent entry and disorderly conduct on
    Capitol grounds;

      5. Nick Ochs: Conspiracy; Obstruction of an Official Proceeding;
    Destruction of Government Property; Theft of Government
    Property; Restricted Building or Grounds; Aiding and Abetting.
    Mr. Ochs is alleged to be the leader of a chapter of the Proud Boys
    organization.;

      6. Robert Keith Packer: Knowingly entering or remaining in any
    restricted building or grounds without lawful authority and violent
    entry or disorderly conduct on Capitol grounds. Mr. Packer is seen
    in a widely distributed photograph wearing a “Camp Auschwitz”
    sweatshirt.;

      7. Matthew Council: Knowingly entering or remaining in any
    restricted building or grounds without lawful authority and violent
    entry and disorderly conduct on Capitol grounds. According to the
    USDOJ website, Council unlawfully entered the Capitol building
    and, when stopped by law enforcement, he pushed an
    officer. Mr. Council was released on a personal recognizance bond
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    after his initial appearance in the Middle District of Florida.;

      8. Jenny Cudd: Obstructing an Official Proceeding; Entering
    and Remaining in a Restricted Building or Grounds; Disorderly
    and Disruptive Conduct in a Restricted Building or Grounds;
    Disorderly Conduct in a Capitol Building; Parading,
    Demonstrating, or Picketing in a Capitol Building; Aiding and
    Abetting;

     9. Hunter Allen Emke: Destruction of Government Property;
    Obstruction of an Official Proceeding; Disorderly Conduct in a
    Capitol Building; Parading, Demonstrating, or Picketing in a
    Capitol Building;

     10. Simone Melissa Gold: Restricted Building or Grounds; Violent
    Entry; and Disorderly Conduct;

     11. Vaughn Gordon: Entering and Remaining in            a   Restricted
    Building; Disorderly and Disruptive Conduct in          a    Restricted
    Building; Violent Entry and Disorderly Conduct          in   a Capitol
    Building; Parading, Demonstrating, or Picketing         in   a Capitol
    Building;

      12. Jack Jesse Griffith: Knowingly enter or remain in any
    restricted building or grounds without lawful authority to do;
    knowingly, and with intent to impede or disrupt the orderly
    conduct of Government business or official functions, engage in
    disorderly or disruptive conduct in, or within such proximity to,
    any restricted building or grounds when, or so that, such conduct,
    in fact, impedes or disrupts the orderly conduct of Government
    business or official functions; or attempts or conspires to do so.;

     13. Jacob Hiles: Knowingly Entering or Remaining in any
    Restricted Building or Grounds Without Lawful Authority;
    Knowingly, With Intent to Impede Government Business or
    Official Functions, Engaging in Disorderly Conduct on Capitol
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    Grounds; Parading, Demonstrating, or Picketing in the Capitol
    Buildings;
     14. Jacob Lewis: Entering and Remaining in a Restricted
    Building; Disorderly and Disruptive Conduct in a Restricted
    Building; Violent Entry and Disorderly Conduct in a Capitol
    Building; Parading, Demonstrating, or Picketing in a Capitol
    Building;

     15. Kevin Loftus: Entering and Remaining in            a    Restricted
    Building; Disorderly and Disruptive Conduct in          a    Restricted
    Building; Violent Entry and Disorderly Conduct          in   a Capitol
    Building; Parading, Demonstrating, or Picketing         in   a Capitol
    Building;

      16. Dominic Madden: Knowingly enter or remain in any
    restricted building or grounds without lawful authority to do;
    knowingly, and with intent to impede or disrupt the orderly
    conduct of Government business or official functions, engage in
    disorderly or disruptive conduct in, or within such proximity to,
    any restricted building or grounds when, or so that, such conduct,
    in fact, impedes or disrupts the orderly conduct of Government
    business or official functions; utter loud, threatening, or abusive
    language, or engage in disorderly or disruptive conduct, at any
    place in the grounds or in any of the Capitol buildings with the
    intent to impede, disrupt, or disturb the orderly conduct of a
    session of Congress or either House of Congress; parade,
    demonstrate, or picket in any of the Capitol buildings;

      17. Steve Omar Maldonado: Restricted Building or Grounds;
    Violent Entry or Disorderly Conduct, and parade, demonstrate, or
    picket on Capitol Grounds. (Mr. Maldonado was released after his
    initial appearance in the Middle District of Florida.)

     18. James Allen Mels: Knowingly Entering or Remaining in any
    Restricted Building or Grounds Without Lawful Authority; Violent
    Entry and Disorderly Conduct on Capitol Grounds;
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     19. David Charles Mish, Jr.: Unlawful entry on restricted
    buildings or grounds; violent entry and disorderly conduct on
    Capitol grounds;

    20. Rachael Lynn Pert: Unlawful Entry on Restricted Building or
    Grounds; Violent entry and disorderly conduct on Capitol Grounds.
    Ms. Pert was released after her initial appearance in the Middle
    District of Florida.;

     21. Christine Priola: Knowingly Entering or Remaining in any
    Restricted Building or Grounds Without Lawful Authority; Violent
    Entry and Disorderly Conduct on Capitol Grounds; Unlawful
    Activities on Capitol Grounds, Parades, Assemblages and Display
    of Flags;

     22. Blake A. Reed: Knowingly Entering or Remaining in any
    Restricted Building or Grounds Without Lawful Authority; Violent
    Entry and Disorderly Conduct on Capitol Grounds;

     23. Mark Simon: Restricted Buildings or Grounds; Unlawful
    Activities on Capitol Grounds;

     24. Jeffrey Alexander Smith: Violent Entry and Disorderly
    Conduct on Capitol Grounds; Knowingly Entering or Remaining in
    any Restricted Building or Grounds Without Lawful Authority;

     25. Michael Stepakoff: Entering and Remaining in a Restricted
    Building; Disorderly and Disruptive Conduct in a Restricted
    Building; Violent Entry and Disorderly Conduct in a Capitol
    Building; Parading, Demonstrating, or Picketing in a Capitol
    Building. Mr. Stepakoff was ordered released on conditions after
    his initial appearance in the Middle District of Florida.;

      26. Brandon Straka: Impeding a law enforcement officer during
    civil disorder; knowingly entering and remaining on restricted
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      grounds without lawful authority and/or engaging in disorderly
      conduct within proximity to a restricted building to impede official
      functions; engage in disorderly conduct with intent to disturb a
      hearing before Congress;

       27. John Herbert Strand: Restricted Building or Grounds; Violent
      Entry and Disorderly Conduct;

       28. Marissa A, Suarez: Knowingly Entering or Remaining in any
      Restricted Building or Grounds Without Lawful Authority; Violent
      Entry and Disorderly Conduct on Capitol Grounds;

       29. Patricia A. Todisco, Knowingly Entering or Remaining in any
      Restricted Building or Grounds Without Lawful Authority; Violent
      Entry and Disorderly Conduct on Capitol Grounds;

       30. Bradley Weeks: Knowingly Entering or Remaining in any
      Restricted Building or Grounds Without Lawful Authority; Violent
      Entry and Disorderly Conduct on Capitol Grounds. Mr. Weeks was
      ordered released after his initial appearance in the Middle District
      of Florida.

       31. Riley June Williams: Knowingly Entering or Remaining in
      any Restricted Building or Grounds Without Lawful Authority;
      Violent Entry and Disorderly Conduct on Capitol Grounds; and

       32. Dana Joe Winn: Unlawful Entry on Restricted Building or
      Grounds; Violent entry and disorderly conduct on Capitol Grounds.
      Mr. Winn was released after his initial appearance in the Middle
      District of Florida.

     Clearly there is substantial precedent for the pretrial release of

individuals charged as the result of actions alleged to have been taken by

them on January 6th, 2021 in the nation’s capital.
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     Based on an application of the facts presented in this matter, both

in this request and those to be presented at hearing before the court, to

the applicable law, there exist a virtual cornucopia of release conditions

this court can impose on Mr. Meggs sufficient to rebut any presumption

that he may pose a serious risk of flight or danger to the community.

     The undersigned has conferred with Assistant United States

Attorney William Hamiltom, Esq., who asserts the government’s position

is that Mr. Meggs should be detained.


                                        RESPECTFULLY SUBMITTED,

                                        /s/ David Anthony Wilson
                                        DAVID ANTHONY WILSON
                                        201 S.W. 2nd Street, Suite 101
                                        Ocala, FL 34471
                                        (352) 629-4466
                                        david@dwilsonlaw.com
                                        Trial Attorney for Defendant
                                        Florida Bar No: 0983675


                    CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on February 18th, 2021, I

electronically filed the foregoing with the Clerk of the Court by using the

CM/ECF system, which will send a notice of electronic filing to the
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following: Office of the United States Attorney.



                                        /s/ David Anthony Wilson
                                        DAVID ANTHONY WILSON
